                     Case 1:04-cr-05097-AWI Document 164 Filed 01/30/06 Page 1 of 6
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case




                                     United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                     v.                                                 (For Offenses Committed On or After November 1, 1987)
           ROBERTO VARGAS LOPEZ                                         Case Number: 1:04CR005097-001


                                                                        James R. Homola (Retained)
                                                                        Def endan t’s A ttorney


THE DEFENDANT:
[U]      pleaded guilty to count(s): One of the Indictment .
[]       pleaded nolo contendere to counts(s)       which was accepted by the court.
[]       was found guilty on count(s)     after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                                  Date Offense        Count
Title & Section                       Nature of Offense                                           Concluded           Number(s)
21 USC 846 and 841(a)(1)              Conspiracy to Distribute and Possess with the               10/01/2003 and      ONE
                                      Intent to Distribute Heroin, a Controlled                   3/23/04
                                      Substance (CLASS A FELONY)



       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[U]      Count(s) 2,3,4 of the Indictment (is)(are) dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[]       Appeal rights giv en.                           [U]     Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United
States attorney of material changes in economic circumstances.

                                                                                               1/23/06
                                                                                    Date of Imposition of Judgment


                                                                                          /s/Anthony W. Ishii
                                                                                      Signature of Judicial Officer


                                                                        ANTHONY W. ISHII, United States District Judge
                                                                              Name & Title of Judicial Officer

                                                                                                     1/27/06
                                                                                                      Date
                         Case 1:04-cr-05097-AWI Document 164 Filed 01/30/06 Page 2 of 6
AO 245 B-C AE D ( Rev. 3 /04) S heet 2 - Im pris onm ent
CASE NUMBER:                     1:04CR005097-001                                                                  Judgment - Page 2 of 6
DEFENDANT:                       ROBERTO VARGAS LOPEZ


                                                                IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 120 months .




[U]        The court makes the following recommendations to the Bureau of Prisons:
           The Court recommends that the defendant be incarcerated in a California (Terminal Island)facility, but only
           insofar as this accords with security classification and space availability. The Court recommends the defendant
           participate in the 500-Hour Bureau of Prisons Substance Abuse Treatment Program.


[U]        The defendant is remanded to the custody of the United States Marshal.


[]         The defendant shall surrender to the United States Marshal for this district.
           [ ] at      on    .
           [ ] as notified by the United States Marshal.


[]         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           [ ] before on        .
           [ ] as notified by the United States Marshal.
           [ ] as notified by the Probation or Pretrial Services Officer.
           If no such institution has been designated, to the United States Marshal for this district.

                                                                      RETURN
I have executed this judgment as follows:




           Defendant delivered on                                            to

at                                                    , with a certified copy of this judgment.




                                                                                                       UNITED STATES MARSHAL



                                                                                                  By
                                                                                                          Deputy U.S. Marshal
                     Case 1:04-cr-05097-AWI Document 164 Filed 01/30/06 Page 3 of 6
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                1:04CR005097-001                                                                            Judgment - Page 3 of 6
DEFENDANT:                  ROBERTO VARGAS LOPEZ


                                                 SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of 60 months (unsupervised, if
deported) .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from im prisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                     Case 1:04-cr-05097-AWI Document 164 Filed 01/30/06 Page 4 of 6
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                1:04CR005097-001                                                            Judgment - Page 4 of 6
DEFENDANT:                  ROBERTO VARGAS LOPEZ


                                  SPECIAL CONDITIONS OF SUPERVISION

         1.    The defendant shall submit to the search of his person, property, home, and vehicle by a United
               States Probation Officer, or any other authorized person under the immediate and personal
               supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
               Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
               residents that the premises may be subject to searches pursuant to this condition.

         2.    As directed by the probation officer, the defendant shall participate in a correctional treatment
               program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.

         3.    As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
               breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

         4.    The defendant shall not possess or have access to any paging device or cellular phone without
               the advance permission of the probation officer. The defendant shall provide all billing records
               for such devices, whether used for business or personal, to the probation officer upon request.

         5.    The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
               places where alcohol is the chief item of sale.

         6.    Pursuant to 18 USC 3583(d)(3), upon completion of the term of imprisonment, the defendant
               is to be surrendered to a duly authorized Immigration official for deportation proceeding in
               accordance with the established procedures provided by the Immigration and Nationality Act.
               If ordered deported, during the term of supervised release, the defendant shall remain outside the
               United States and shall not re-enter the United States without the consent of the Attorney
               General or the Secretary of the Department of Homeland Security of the United States.

               Upon any re-entry, lawful or unlawful, into the United States, the defendant shall report in
               person to the United States Probation Office in the Eastern District of California within 72 hours.

         7.    As directed by the probation officer, the defendant shall participate in a co-payment plan for
               treatment or testing and shall make payment directly to the vendor under contract with the
               United States Probation Office of up to $25 per month.

         8.    The defendant shall register, as required in the jurisdiction in which he resides, as a drug
               offender.

         9.    The defendant shall cooperate in the collection of DNA as directed by the probation officer.
                          Case 1:04-cr-05097-AWI Document 164 Filed 01/30/06 Page 5 of 6
AO 24 5B -CAE D (R ev. 3/04 ) Sheet 5 - C riminal M onetary Pena lties
CASE NUMBER:                       1:04CR005097-001                                                                                   Judgment - Page 5 of 6
DEFENDANT:                         ROBERTO VARGAS LOPEZ


                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                             Assessment                            Fine                     Restitution
       Totals:                                                $ 100.00                           $ Waived                       $


[]     The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victims must be paid before the United States is paid.



Name of Payee                                                Total Loss*                    Restitution Ordered Priority or Percentage


       TOTALS:                                                    $                                $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
       6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                            [ ] fine          [ ] restitution

       [ ] The interest requirement for the                              [ ] fine [ ] restitution is modified as follows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
                          Case 1:04-cr-05097-AWI Document 164 Filed 01/30/06 Page 6 of 6
AO 24 5B -CAE D ( Rev . 3/0 4) S heet 6 - Schedu le of Pay ments
CASE NUMBER:                       1:04CR005097-001                                                                        Judgment - Page 6 of 6
DEFENDANT:                         ROBERTO VARGAS LOPEZ

                                                           SCHEDULE OF PAYMENTS


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      [U]             Lump sum payment of $                   100.00 due immediately, balance due

             []        not later than  , or
             []        in accordance with                  [ ] C,   [ ] D,   [ ] E, or   [ ] F below; or

B      [ ] Payment to begin immediately (may be combined with [ ] C,                     [ ] D, or [ ] F below); or

C      [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of                     (e.g., months or years),
           to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D      [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
           to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E      [ ] Payment during the term of supervised release will commence within       (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
           or

F      [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]     Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]     The defendant shall pay the cost of prosecution.

[]     The defendant shall pay the following court cost(s):

[]     The defendant shall forfeit the defendant’s interest in the following property to the United States:
